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               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGI,?^
                           WAYCROSS DIVISION




UNITED STATES OF AMERICA,


                                                 Case No.      CR517-02


AKEEM HOWARD,


                  Defendant,




UNITED STATES OF AMERICA,


                                                 Case No.      CR517-03


AUTWAIN HUNT,                                              U. S. DISTRICT COURT
                                                           Southern District of Ga.
                  Defendant.                                   Filed in Office
                                                                                 M




                                 ORDER
                                                               Deputy Clerk


     N. Matthew Monroe, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.                 The Court is

mindful that personal and professional obligations require the

absence   of    counsel   on   occasion.   The    Court,     however, cannot


accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing
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shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and       trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



     SO ORDERED this ^^^day of October 2017.


                                 HONORABLE WILLIAM^^T. MOORE, JR.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
